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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERS]..Y




                                                     Criminal Action
                                                     No  14:220 (SRC)



                                                     ORDER FOR DISCOVERY
                                                          AND INSPECTION

KWASI .MACK


     In orde r to eliminate unnecessary motions f..r discovery in
this case, to eliminate delays in the presentation of evidence
and the examination of witnesses and to expedite the trial
pursuant to the provisions of the Speedy Trial Act of 1974,


     IT IS ORDERED:


     1.  CONFERENCE.  Within ten (10) days from the date hereof,
the United States Attorney or one of his or her assistants and
the defendants attorney shall meet and confer and the government
shall:


           (a) Permit defendantts attorney to inspect and
     copy or photograph any relevant written or recorded
     statements or confessions made by the defendant, or
     copies hereof, within the possession, custody or
     control of the government, the existence of which is
     known, or may become known, to the attorney for the
     government;


           (b) Permit defendants attorney to insiect and
     copy or photograph any relevant results or reports of
     physical or mental examinations, ard of scientific
     tests or experiments made in connection with the case,
     or copies thereof, within the possession, custody or
     control of the government, the existence of which is
     known, or may become known, to the attorney for the
     government;


          (c)  Permit defendant’s attorney to inspect and
     copy or photograph any recorded testimony o..f the
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         (d)     Permit the defend.ants attorney to inspect
    and copy or photocraph books, papers, documents,
    tangible objects, buildings or places wh.ich are the
    property of the ds.fendant and which are within the
    possess i.on,. custody, or control of the government;




          (e) Permit the defendants attorney to inspect
    ard copy or photograph the de endants prior criminal
    record in the possession of the attorney for the
    government;


          (f) PerOmit the defendant’s attorney to inspect,
    copy or photograph any exculpatory evidence within the
    purview of bpdiMarylhpd.


           (g) If there is more than one defendant named in
    the indictment, and if the government intends to
    introduce into evidence in its case in chief a
    confession made to law enforcement authorities by one
    defendant which names or makes mention of a co
    defendant, then the government must make a copy of that
    statement or confession available to counsel for the
    non—declarant defendant, along with a proposal for its
    redaction to conform with the requirements of Bruton v.
    United states.   If the government makes no such
    disclosure and turnover within the time period allowed,
    the confession may not be received at a joint trial of
    the declarant and non—declarant defendants.   If, within
    ten (10) days after receipt of the confession and its
    redacted version, counsel for the non-declarant
    defendant makes no objection to the redacted statement,
    he or she will be deemed to have acceded to the receipt
    of tb-c redacted statement into evidence.


          (h)   The obtaining of discovery by a defendant or
   his or her attorney as provid.ed in paragraph 1(b) and
   1(d) s-hall be deemed a request for discovery for
   purposes of Rule 16 (b), FRCrP,      In the event the
   defendant wishes to decline all or part of the
   discovery required to be provided in paragraph 1(b) and
   1(d), he or she shall so notify the United States
   Attorney or one of his or her ass.istants prior to
   obtain..ing such discovery,  In the eve.nt the defendant
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     decl.i.nes discovery, the government shall h.ave. no
     oblig at.ion to provide discovery u.nder the  rovisions of
     paraqraph l(k..) or 1(d) of this Order.


      2. DISCLO SURE DECLINED.  If, in the judgment of th.e United
States Attorney, it would be detrimental to the interests of
justice to make any disclosures set forth in paracraph I,
disclosure may be declined, and defense counsel advised in
writing of th.e declination within five (5) days of the
conference.


     if the def.endant seeks to challenge the declination he or
she may move the couvt for relief n the following manner:


           (a) No later that five (5) court days from the
     time that the govern.ment declines, the defendan..t shall
     files a motion for discovery or inspection.


          (b)  The motion shall notice a hearing on the next
     appropriate motion day pursuant to the provisions of
     General Rule 12 of the General Rules of this court.


           (c) The motion shall set forth (1) the statement
     that the prescribed conference was held; (2) the date
     of the conference; (3) the name of the Assistant United
     States Attorney with whom the conference was held; (4)
     the matters which were agreed upon; and (5) the matter
     which are in dispute and which required the
     determination of the court.


     3.  CONTINUING DUTY,  Any duty or disclosure and discovery
set forth herein s a continuing one and the United States
Attorney shall produce any additional .information gained by the
government.


     4   EXHIBITS.   The government shall premark all exhibits
which it intends to introduce as cart of its direct case and
shall permit derendants attorney to .inspect and copy these
ex.hibts .30 days prior t.o the commencement of trial.  A set of
such remarked exhib±ts. with an exhib.it list should be turned
over to the depu.ty clerk before or at. the outset of trial.
Unless declined by notice to the Uni..ted States Attorney or one of
his or her as.sistants, the opportunity to inspect and copy the
Government s exhibits shall be deeme.d a request for discovery for
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purposes of Ru.Ie 16(b), R.Cp.P.   The d.efendant
                                       s exhibi.ts shall
                                       t
also be pre-marked but need not be disclosed until
at trial or when oreerea by the court.  The oovernment shall also
pre-mark all Jencks Act materials so that no trial delay is
encountered by marki.ng such m.aterials at the ti:me of turnover to
defendant s counsel.
     5.   AUTHENTICITY OF EXHIBITS.
exhibits examined hr defense counsel nursuant to the orovisions
of raragrach 4 of this Order will be deemed to have been accepted
by the de±.endant unless defen.se counsel files with the court, 14
days prior to the date of troal, a notice trat the autrenticty
of the exhibits will be contested hr the defendant at trial,
tocether with a statement delineatinu why the authenticity of the
exhibits is beinq challenqed tocether with a certification that
the challenge to authenticity is bein.g made in good faith.


     6.  CHAIN OF POSSESSION.  When defense counsel has examined
an exhibit pursuant to the provisions of paragraph 4 of this
Order, the chain of possession of the exhibit will be deemed to
have been accepted the defendant unless defense counsel files
with the court, 14 days prior to the date of trial, a notice that
the chain of possession of the exhibit will be contested by the
defendant at trial together with a statement delineating that the
exhibit is being so challenged and a certification that the
challenge is being made in good faith.


     7.  SCIENTIFIC ANALYSIS.  When the government has disclosed
to defense counsel, at the conference set forth in paragraph 1,
the scientific analysis of an exhibit proposed to be introduced
at the trial by the government, which analysis has been
determined by an expert in the field of science involved, then
the scientific analysis of the exhibit will be deemed admitted
unless defense counsel files with the court prior to fourteen
(14) days of the trial a notice that the scientific analysis of
tie exhibit will be contested,


     8.   OTHER MOTIONS BY DEFENDANT.   docions reoardino defenses
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evidence, shall Ic made within t.hirt. (30) days from the date
hereof unless good cause for delar i.s shown,  in the case of
ascover matters covered b    other   rovislons of this Order, the
time and orocedure specified is such provisions shall govern.
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     9.   MOTION AND TRIAL_SCHEDULE.


     Defendant’s motions to be filed by        519114
     Government’s response                     5/19/14
     Motion Hearing scheduled for     6/2/14                AT 10:00 A.M.


      OrderedTrialDatesetfor         JUNE 17,       2014    at 10:00 am.




    10.   Ordered that   pçed voir dire questions and     cU9ts
           be furnished to the Court 10 days prior to the date of
trial.




                                     s/ Stanley R.         Chesler,   U.   S.   D.   J
